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           IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF TEXAS
                          BEAUMONT DIVISION



                               No. 1:09-CR-109(31)


 United States of America


 v.


 Richard Ballard
                                             Defendant




      Findings, Conclusions and Recommendations on Guilty Plea


       This action is referred to the undersigned United States Magistrate Judge
 to hear and receive defendant’s guilty plea.      On May 18, 2010, defendant,
 defendant’s counsel, and the attorney for the government came before the court
 for a guilty plea and allocution on Count I of the Information        charging a
 violation of 18 U.S.C. § 1956(h).

                                     Guilty Plea

       After conducting proceedings in the form and manner prescribed by Rule
 11 of the Federal Rules of Criminal Procedure, and with consent of all parties,
 the undersigned finds:
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       (1)    Defendant, after consultation with counsel of record, knowingly and
              voluntarily consents to pleading guilty before a United States
              magistrate judge, and did plead guilty to Count I of the Information.

       (2)    Defendant is fully competent and capable of entering an informed
              plea; is aware of the nature of the charges and the consequences of
              the plea; and the plea of guilty is a knowing and voluntary plea
              supported by an independent basis in fact containing each of the
              essential elements of the offense.

 Accordingly, defendant’s guilty plea is accepted, and defendant is bound thereto.

                                Plea Agreement

       [ ]    Defendant’s plea is an open plea, i.e., made without a plea
              agreement.
       [ T]   Defendant’s plea is made pursuant to a written plea agreement and
              stipulation of relevant facts, copies of which were produced for
              inspection and filed in the record.
       [ T]   The plea agreement is of the type specified in Fed. R. Crim. P. 11
              (c)(1)(A) in that the attorney for the government will not bring, or
              move to dismiss, other charges.
       [ ]    The plea agreement is of the type specified in Fed. R. Crim. P. 11
              (c)(1)(B) in that the attorney for the government will recommend, or
              agree not to oppose the defendant’s request, that a particular
              sentence or sentencing range is appropriate or that a particular
              provision of the Sentencing Guidelines, or policy statement, or
              sentencing factor does or does not apply (such a recommendation or
              request does not bind the court).
       [ T]   The plea agreement is of the type specified in Fed. R. Crim. P. 11
              (c)(1)(C) in that the attorney for the government will agree that a
              specific sentence or sentencing range is the appropriate disposition
              of the case, or that a particular provision of the Sentencing
              Guidelines, or policy statement, or sentencing factor does or does not
              apply (such a recommendation or request binds the court once the
              court accepts the plea agreement).

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       [ T]    Defendant was advised that the court may defer its decision as to
 acceptance or rejection of the plea agreement until it reviews the presentence
 report, and was further advised:

              [ ]     if the court rejects the plea agreement’s stipulations regarding
                      non-binding sentencing recommendations or requests,
                      defendant will have no right to withdraw the plea;

              ;[ T]   if the court rejects the plea agreement’s stipulations regarding
                      binding sentencing recommendations or requests, the court
                      will give defendant an opportunity to withdraw the plea of
                      guilty; and

              [ T]    if the court accepts that part of the plea agreement wherein
                      the attorney for the United States agrees to dismiss or not
                      bring other charges, such agreed disposition will be included
                      in the judgment; but if the court rejects that provision, the
                      court will give defendant an opportunity to withdraw the plea
                      of guilty; and

              [ T]    if defendant is given an opportunity to withdraw the plea of
                      guilty, and chooses not to, the court may dispose of the case
                      less favorably toward the defendant than the plea agreement
                      contemplated.


                              RECOMMENDATIONS

       Defendant should be adjudged guilty of the offense to which he has
 pleaded guilty. The court should defer a decision to accept or reject the plea
 agreement until it reviews the presentence report.

                                   OBJECTIONS

       Upon conclusion of the guilty plea proceedings, all parties stated that they
 do not object to the findings, conclusions and recommendations stated above.


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       SIGNED this 18 day of May, 2010.




                                     ______________________________________
                                     Earl S. Hines
                                     United States Magistrate Judge




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